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 7 United States of America

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:19-CR-182-JAM

12                                Plaintiff,            MEMORANDUM REQUEST TO RESET
                                                        SENTENCING SCHEDULE
13                         v.

14   RONALD J. ROACH,

15                               Defendant.

16

17          Sentencing in this matter is currently set for September 13, 2022. For reasons related to ongoing

18 investigation by the government and the defendant’s agreement to cooperate, the parties hereby jointly

19 stipulate and request that the court reset sentencing for December 14, 2022.

20          IT IS SO STIPULATED AND REQUESTED.

21
     Dated: September 8, 2022                               PHILLIP A. TALBERT
22                                                          United States Attorney
23
                                                            /s/ CHRISTOPHER S. HALES
24                                                          CHRISTOPHER S. HALES
                                                            Assistant United States Attorney
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      MEMORANDUM REQUEST TO RESET SENTENCING            1
      SCHEDULE
            Case 2:19-cr-00182-DAD Document 82 Filed 09/08/22 Page 2 of 2

 1   Dated: September 8, 2022                     /s/ CHRISTIAN E. PICONE
                                                  CHRISTIAN E. PICONE
 2                                                Counsel for Defendant
                                                  RONALD J. ROACH
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     MEMORANDUM REQUEST TO RESET SENTENCING   2
     SCHEDULE
